                        UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

 IN RE:                                                CASE NO.: 19-50304
                                                       CHAPTER 7
 R. Bryan Blumenkrantz
                                                       JUDGE Craig A. Gargotta
 aka Robert Bryan Blumenkrantz,

        Debtor,

 Julie Marie Blumenkrantz,

        Joint Debtor.

 ______________________________________/




  MOTION FOR RELIEF FROM AUTOMATIC STAY AGAINST REAL PROPERTY
  LOCATED AT 609 PROVIDENCE CIRCLE CLOVIS, NEW MEXICO 88101 AND
           REQUEST FOR HEARING IN SAN ANTONIO, TEXAS


   THIS PLEADING REQUESTS RELIEF THAT MAY BE ADVERSE TO YOUR
   INTERESTS.

   IF NO TIMELY RESPONSE IS FILED WITHIN 14 DAYS FROM THE DATE OF
   SERVICE, THE RELIEF REQUESTED HEREIN MAY BE GRANTED WITHOUT
   A HEARING BEING HELD.

   A TIMELY RESPONSE IS NECESSARY FOR A HEARING TO BE HELD.}

TO THE HONORABLE JUDGE OF SAID COURT:

      Secured Creditor, USAA FEDERAL SAVINGS BANK, by and through the undersigned

counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification of the

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automatic stay provisions for cause, and, in support thereof, states the following:

   1. Debtor(s), R. Bryan Blumenkrantz also known as Robert Bryan Blumenkrantz and Julie Marie

       Blumenkrantz, filed a voluntary petition pursuant to Chapter 7 of the Bankruptcy Code

       on February 11, 2019.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C.

       §1334, 11 U.S.C. § 362(d), Fed.R.Bankr.P. 4001(a), and all other applicable rules and

       statutes affecting the jurisdiction of the Bankruptcy Courts generally.

   3. On October 21, 2014, R. Bryan Blumenkrantz also known as Robert Bryan

       Blumenkrantz and Julie Marie Blumenkrantz executed and delivered a Promissory

       Note (“Note”) and Deed of Trust (“Mortgage”) securing payment of the Note in the amount

       of $342,000.00 to USAA Federal Savings Bank, a Federally Chartered Savings Bank. The

       Mortgage was recorded on October 22, 2014, in Book 531 at Page 7949, in the Public

       Records of Curry County, New Mexico. The loan was transferred to Secured Creditor.

       True and accurate copies of the documents establishing a perfected security interest and

       ability to enforce the terms of the Note are attached hereto as Composite Exhibit “A.” The

       documents include copies of the Note and any required endorsements, Recorded Mortgage,

       Assignment(s) of Mortgage, and any other applicable documentation supporting the right

       to seek a lift of the automatic stay to foreclose, if necessary.

   4. Attached are redacted copies of any documents that support the claim, such as promissory

       notes, purchase orders, invoices, itemized statements of running accounts, contracts,

       judgements, mortgages, and security agreements in support of right to see a lift of the

       automatic stay and foreclose if necessary.

   5. The mortgage provides Secured Creditor a lien on the real property located in Curry


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      County, New Mexico, and legally described as stated in the mortgage attached in

      Composite Exhibit “A.”

      This property is located at the street address of: 609 Providence Circle Clovis, New

Mexico 88101.

   6. The terms of the aforementioned Note and Mortgage have been in default, and remain in

      default, since February 1, 2019.

   7. As of April 19, 2019, Secured Creditor is due the following amount:

       Unpaid Balance                                               $317,052.36

       Interest Amount                                              $4,270.45

       Total Due                                                    $321,322.81

       Post-Petition Arrears Due (1 month at $2,090.61/month) $2,090.61

       Post-Petition Arrears Due (2 month at $2,131.18/month) $4,262.36

       Total Delinquency                                            $6,352.97



          Documentation supporting this claim is attached hereto as Exhibit “B”.

   8. According to Curry County, the value of the property is $310,473.00. See Exhibit “C”

      which is attached hereto and permissible as a property valuation under Fed. R. Evid.

      803(8). There is no equity in the property.

   9. Based upon the Debtor(s)’ schedules, the property is claimed as non-exempt. The Trustee

      has not abandoned the property.

   10. Secured Creditor’s security interest in the subject property is being significantly

      jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

      while Secured Creditor is prohibited from pursuing lawful remedies to protect such interest.

      Secured Creditor has no protection against the erosion of its collateral position and no other

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       form of adequate protection is provided.

   11. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

       provided with adequate protection, it will suffer irreparable injury, loss, and damage.

   12. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

       this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

       adequate protection to Secured Creditor for its interest in the above stated collateral. The

       value of the collateral is insufficient in and of itself to provide adequate protection which

       the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

       additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the Bankruptcy

       Code, as the collateral is unnecessary to an effective reorganization of the Debtor’s assets.

   13. Once the stay is terminated, the Debtor will have minimal motivation to insure, preserve,

       or protect the collateral; therefore, Secured Creditor requests that the Court waive the 14-

       day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

   14. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

       incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving and

       protecting the property, all of which additional sums are secured by the lien of the

       Mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying the

automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to


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seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: May 28, 2019

                                                    RAS CRANE LLC
                                                    Attorney for Secured Creditor
                                                    /s/ Shelly K. Terrill
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 28, 2019 a true and correct copy of the foregoing

was served via CM/ECF or United States Mail to the following parties:

R. Bryan Blumenkrantz
aka Robert Bryan Blumenkrantz
184 Agua Serena
Del Rio, TX 78840

Julie Marie Blumenkrantz
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United States Trustee-SA12
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San Antonio, TX 78295-1539

                                                  /s/ Shelly K. Terrill
                                                  Shelly K. Terrill




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